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19 Counsel for Defendant Google LLC

20                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
21                                  OAKLAND DIVISION

22
     PATRICK CALHOUN, et al., on behalf of            Case No. 4:20-cv-5146-YGR-SVK
23   themselves and all others similarly situated,
                                                      DEFENDANT GOOGLE LLC’S
24          Plaintiffs,                               MOTION TO REMOVE INCORRECTLY
                                                      FILED DOCUMENT (DKT. 641)
25          v.
                                                      Referral: Hon. Susan van Keulen, USMJ
26
     GOOGLE LLC,
27
            Defendant.
28

                                                                   Case No. 4:20-cv-5146-YGR-SVK
                                      GOOGLE’S MOTION TO REMOVE INCORRECTLY FILED DOCUMENT
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 1         Defendant Google LLC (“Google”) submits this Motion to Remove Incorrectly Filed
 2 Document to remove the document submitted as Plaintiffs’ Motion for Leave to Supplement

 3 Plaintiffs’ April 15, 2022 Response to Google’s Objections to The Special Master’s Sealed

 4 Recommendations and Order Dated May 2, 2022 (Dkt No. 641). Subsequent to that filing, Google

 5 discovered that certain confidential information was inadvertently unredacted. The information

 6 sought to be redacted contains highly sensitive, confidential, and proprietary business information

 7 that could affect Google’s competitive standing and may expose Google to increased security risks,

 8 including cybersecurity threats, if publicly disclosed. Upon discovering these errors, Google’s

 9 counsel requested that the inadvertently filed document be temporarily blocked. Google has also
10 filed a corrected, redacted version of Plaintiffs’ Response. See Dkt. 659-2. Accordingly, Google

11 respectfully requests that Docket No. 641 be permanently deleted from the docket.

12

13 DATED: May 12, 2022                         QUINN EMANUEL URQUHART &
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                                                By /s/ Andrew H. Schapiro
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